                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


AMYIAH COHOON, a minor, by and through her parents
and legal guardians, RICHARD COHOON and ANGELA
COHOON

       Plaintiff,

v.                                                                     Case No. 20-CV-620

JOSEPH KONRATH, in his personal and official capacity
as Sheriff of Marquette County, Wisconsin; and

CAMERON KLUMP, in his personal and official capacity
as Patrol Sergeant for the Marquette County Sheriff’s
Office,

       Defendants



               FIFTH JOINT MOTION FOR EXTENSION OF PLAINTIFF’S
                    DEADLINE TO MOVE FOR FEES AND COSTS



       Plaintiff and Defendants hereby jointly move, pursuant to Fed. R. Civ. P. 6(b), for a fifth

extension of Plaintiff’s deadline to file a motion for fees and costs, until December 23, 2021.

       1.       On September 24, this Court issued an order granting Plaintiff’s summary judgment

motion, and that same day entered judgment. Dkts. 42, 43.

       2.       Pursuant to Federal Rule of Civil Procedure 54(d), Plaintiff ordinarily has two

weeks to file a motion for attorney’s fees and costs.

       3.       The parties requested, and this Court granted, four extensions of that deadline while

the parties negotiated a settlement regarding attorney’s fees. The current deadline is December 10.

       4.       The parties have reached an agreement, and have nearly finalized and formalized

it, but are still waiting on a third party for the final step, which has taken longer than anticipated.



            Case 2:20-cv-00620-BHL Filed 12/09/21 Page 1 of 2 Document 52
They expect this to be completed next week, and for this to be the final extension motion.

Accordingly, they request one more two-week extension, until December 23.

       5.       Pursuant to Civ. L. R. 7(a)(2), counsel for the parties certify that no further

memorandum or supporting papers will be filed in support of this motion.

       Dated: December 9, 2021

       Respectfully submitted,

       /s/ Luke N. Berg                              /s/ Samuel C. Hall, Jr.
       LUKE N. BERG (SBN 1095644)                    SAMUEL C. HALL, JR.
       (414) 727-736 | luke@will-law.org             State Bar No.: 1045476

       RICK ESENBERG (SBN 1005622)                   SARA C. MILLS
       (414) 727-6367 | rick@will-law.org            State Bar No.: 1029470

       ANTHONY F. LOCOCO (SBN 1101773)               CRIVELLO CARLSON, S.C.
       (414) 727-7419 | alococo@will-law.org         710 N. Plankinton Avenue
                                                     Milwaukee, WI 53203
       LUCAS T. VEBBER (SBN 1067543)                 Telephone: 414.271.7722
       (414) 727-7415 | lucas@will-law.org           Fax: 414.271.4438
                                                     Email: shall@crivellocarlson.com
       WISCONSIN INSTITUTE FOR LAW & LIBERTY         smills@crivellocarlson.com
       330 E. Kilbourn Ave., Suite 725
       Milwaukee, WI 53202                           Attorneys for Defendants
       Phone: (414) 727-9455
       Fax: (414)727-6385

       Attorneys for Plaintiff




                                              -2-

            Case 2:20-cv-00620-BHL Filed 12/09/21 Page 2 of 2 Document 52
